Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 1 of 9




         EXHIBIT I
                         Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 2 of 9

    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                        Preliminary - Rev. V1P

    Features                                                                                          Functional Schematic
     High Gain: 12 dB




                                                                                                                                                                   GND
                                                                                                                        GND



                                                                                                                                    AUX




                                                                                                                                                             DET
    




                                                                                                                              N/C
      P1dB: 30 dBm




                                                                                                                                           N/C

                                                                                                                                                 N/C

                                                                                                                                                       N/C
     PSAT: 33 dBm
                                                                                                                        32    31    30     29    28    27    26    25
     Output IP3: +42 dBm
     Bias Voltage: VDD = 15 V                                                                          GND       1                                                      24    GND

     Bias Current: IDSQ = 500 mA                                                                        N/C      2                                                      23    N/C
     50 Ω Matched Input / Output                                                                                                                                              N/C
                                                                                                         N/C      3                                                      22
     Temperature Compensated Output Power
      Detector                                                                                          GND       4                                                      21    RFOUT/VDD

     Lead-Free 5 mm 32-lead AQFN Package                                                                RFIN     5                                                      20    GND
     RoHS* Compliant
                                                                                                        GND       6                                                      19    N/C




                                                                                                                                                                                           Preliminary Information
    Description                                                                                          N/C      7                                                      18    N/C

    The MAAP-011247 is a 2 W distributed power                                                          GND       8                                                      17    GND
    amplifier offered in a lead-free 5 mm 32-lead AQFN
                                                                                                                         9    10    11     12    13    14    15    16
    package. The power amplifier operates from DC to
    22 GHz and provides 12 dB of linear gain and 33




                                                                                                                              N/C

                                                                                                                                    N/C

                                                                                                                                           N/C



                                                                                                                                                       N/C
                                                                                                                        GND




                                                                                                                                                                   GND
                                                                                                                                                             N/C
                                                                                                                                                 VG1
    dBm of saturated output power. The device is fully
    matched across the band and includes a
    temperature compensated output power detector.
                                                                                                      Pin Configuration1,2
    The MAAP-011247 can be used as a power
    amplifier stage or as a driver stage in higher power                                                       Pin No.              Pin Name                   Description
    applications. This device is ideally suited for test                                                          5                       RFIN                     RF Input
    and measurement, EW, ECM, and radar
    applications.                                                                                                 13                      VG1                  Gate Voltage
                                                                                                                  21                RFOUT/VDD RF Output / Drain Voltage
    This product is fabricated using a GaAs pHEMT
    process which features full passivation for enhanced                                                          26                      DET                Power Detector
    reliability.
                                                                                                                  30                      AUX                      Auxiliary

                                                                                                        1, 4, 6, 8, 9, 16,
    Ordering Information                                                                               17, 20, 24, 25, 32
                                                                                                                                      GND                          Ground

               Part Number                                  Package
                                                                                                       2, 3, 7, 10 - 12,
        MAAP-011247-000PPR                                      Bulk                                  14, 15, 18, 19, 22,                 N/C                No Connection
                                                                                                       23, 27 - 29, 31
        MAAP-011247-EV1PPR                               Sample Board

                                                                                                      1. MACOM recommends connecting all no connection pins to
                                                                                                         ground.
                                                                                                      2. The exposed pad centered on the package bottom must be
                                                                                                         connected to RF, DC and thermal ground.




     *Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.
1
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                         Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 3 of 9

    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V1P

    Electrical Specifications: TA = +25°C, VDD = 15 V, IDSQ3 = 500 mA, Z0 = 50 Ω
                  Parameter                                       Test Conditions                             Units              Min.                  Typ.                Max.

                                                                         2 GHz                                                                         12.0
                                                                        12 GHz                                                                         11.5
                       Gain                                                                                     dB                 —                                        —
                                                                        18 GHz                                                                         12.0
                                                                        22 GHz                                                                         11.5
                                                                         2 GHz                                                                         32.0
                                                                        12 GHz                                                                         33.5
                       PSAT                                             18 GHz                                 dBm                 —                   33.0                 —
                                                                        22 GHz                                                                         31.0
                                                                    PIN = +23 dBm
                                                                         2 GHz                                                                         30.0
                                                                        12 GHz                                                                         31.0
                      P1dB                                                                                     dBm                 —                                        —




                                                                                                                                                                                        Preliminary Information
                                                                        18 GHz                                                                         30.0
                                                                        22 GHz                                                                         28.0
                                                                   2 GHz                                                                               42.0
                                                                  12 GHz                                                                               46.0
                      OIP3                                        18 GHz                                       dBm                 —                   42.0                 —
                                                                  22 GHz                                                                               44.0
                                                PIN = + 20 dBm/tone (10 MHz Tone Spacing)
                                                                        2 GHz                                                                          16.5
                                                                       12 GHz                                                                          20.0
                       PAE                                             18 GHz                                    %                 —                   17.0                 —
                                                                       22 GHz                                                                          12.0
                                                                   PIN = + 23 dBm

              Input Return Loss                                     PIN = - 20 dBm                              dB                 —                     15                 —

             Output Return Loss                                     PIN = - 20 dBm                              dB                 —                     15                 —

             IDD (with RF drive)                                   PIN = + 23 dBm                               mA                 —                    600                 —

                       IG1                                                  —                                   mA                 —                     8                  —

     3. Set IDSQ according to bias procedures in page 3.

    Maximum Operating Ratings                                                                         Absolute Maximum Ratings6,7
                 Parameter                                    Rating                                               Parameter                           Absolute Maximum
                Input Power                                   25 dBm                                              Input Power                                   28 dBm

       Junction Temperature4,5                                +150°C                                             Drain Voltage                                   +16 V

        Operating Temperature                           -40°C to +85°C                                           Gate Voltage                                  -5 to 0 V
    4. Operating at nominal conditions with junction temperature                                           Junction Temperature8                                +175°C
       ≤ +150°C will ensure MTTF > 1 x 106 hours.
    5. Junction Temperature (TJ) = TC + ӨJC * ((V * I) - (POUT - PIN))                                     Storage Temperature                           -65°C to +125°C
       Typical thermal resistance (ӨJC) = 7°C/W.
                                                                                                      6. Exceeding any one or combination of these limits may cause
       a) For TC = +85°C,
                                                                                                         permanent damage to this device.
       TJ = +145°C @ 15 V, I = 0.69 A, POUT = 33 dBm, PIN = 23 dBm
                                                                                                      7. MACOM does not recommend sustained operation near these
                                                                                                         survivability limits.
                                                                                                      8. Junction temperature directly effects device MTTF. Junction
                                                                                                         temperature should be kept as low as possible to maximize
                                                                                                         lifetime.
2
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                         Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 4 of 9

    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V1P

    Application Schematic
                                                          DET
                                          C1
                                                                                                      Operating the MAAP-011247
                         32    31    30    29        28   27    26   25            VDD
                                                                                                      Turn-on
                    1                                                     24
                                                                                                                   1. Apply VG1 (-4.5 V).
                    2                                                     23
                                                                                                                   2. Increase VDD to 15 V.
                    3                                                     22
                                                                                            RF OUT                 3. Set IDSQ by adjusting VG1 more positive
     RF IN
                    4                                                     21                                          (typically -3.4 V for IDSQ = 500 mA).
                    5                                                     20     External                          4. Apply RFIN signal.
                                                                                 Bias-Tee
                    6                                                     19

                    7                                                     18                          Turn-off
                    8                                                     17                                       1. Remove RFIN signal.
                                                                                                                   2. Decrease VG1 to -4.5 V.




                                                                                                                                                                                      Preliminary Information
                         9     10    11    12        13   14    15   16
                                                                                                                   3. Decrease VDD to 0 V.
                                               VG1
                                                               C2




    Bill of Materials9,10,11                                                                          Biasing Conditions
                                                                                                      Recommended biasing conditions are VDD = 15 V,
         Part             Value                           Size                 Comment                IDSQ = 500 mA (controlled with VG1).

       C1, C2                 1 µF                        0402                  bypass                VDD Bias must be applied through a resonant free
                                                                                                      high inductance on the RF output line.
          U1                   —                           —               MAAP-011247
                                                                                                      By-pass capacitor C1 for the auxiliary pad is for low
    9. C1 & C2 are required for operation below 1 GHz.                                                frequency operation extension (below 1 GHz).
    10. High power external bias tee was used for measurements.
    11. External DC block was used on input.




    Handling Procedures                                                                               Recommended PCB Information
    Please observe the following precautions to avoid                                                 RF input and output are 50 Ω transmission lines.
    damage:                                                                                           Single layer 8 mil Rogers RO4008 with 1/2 oz. Cu.
                                                                                                      Use copper filled vias under ground paddle.
    Static Sensitivity
                                                                                                      Grounding
    These electronic devices are sensitive to
    electrostatic discharge (ESD) and can be damaged                                                  It is recommended that the total ground (common
    by static electricity. Proper ESD control techniques                                              mode) inductance not exceed 0.03 nH (30 pH). This
    should be used when handling these HBM Class 1A                                                   is equivalent to placing at least four 8-mil (200-μm)
    devices.                                                                                          diameter vias under the device, assuming an 8-mil
                                                                                                      (200-μm) thick RF layer to ground.




3
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                                   Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 5 of 9

    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                         Preliminary - Rev. V1P
    Typical Performance Curves: VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
     S Parameters                                                                                         Gain
                         20                                                                                                 20


                         10
                                                                                                                            15
    S21, S11, S22 (dB)




                                     S21
                          0




                                                                                                       S21 (dB)
                                     S11
                                     S22
                                                                                                                            10
                         -10

                                                                                                                             5          +25°C
                         -20                                                                                                            -40°C
                                                                                                                                        +85°C




                                                                                                                                                                                        Preliminary Information
                         -30                                                                                                 0
                               0     5        10        15            20            25                                            0    5         10        15         20          25
                                             Frequency (GHz)                                                                                    Frequency (GHz)

      Input Return Loss                                                                                 Output Return Loss
                          0                                                                                                  0
                                                                                                                                       +25°C
                                     +25°C                                                                                             -40°C
                          -5         -40°C
                                                                                                                             -5        +85°C
                                     +85°C

                         -10                                                                                                -10
    S11 (dB)




                                                                                                       S22 (dB)




                         -15                                                                                                -15


                         -20                                                                                                -20


                         -25                                                                                                -25


                         -30                                                                                                -30
                               0     5        10        15            20            25                                            0    5         10        15         20          25
                                             Frequency (GHz)                                                                                    Frequency (GHz)

      Isolation                                                                                         S Parameters @ Low Frequency
                           0                                                                                                30


                                    +25°C                                                                                   20
                                    -40°C
                         -20        +85°C
                                                                                                       S21, S11, S22 (dB)




                                                                                                                            10
     S12 (dB)




                                                                                                                                      S21
                         -40                                                                                                  0       S11
                                                                                                                                      S22

                                                                                                                            -10
                         -60
                                                                                                                            -20


                         -80                                                                                                -30
                               0     5        10        15            20             25                                           0    2          4        6          8           10
                                             Frequency (GHz)                                                                                    Frequency (MHz)
4
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    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                         Preliminary - Rev. V1P
    Typical Performance Curves: VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical
     Noise Figure                                                                                       P1dB over Temperature
                         10                                                                                         40


                          8
                                                                                                                    35
    Noise Figure (dB)




                                                                                                       P1dB (dBm)
                          6
                                                                                                                    30
                          4

                                                                                                                    25             +25°C
                          2                                                                                                        -40°C
                                                                                                                                   +85°C




                                                                                                                                                                                             Preliminary Information
                          0                                                                                         20
                               0     5             10     15          20            25                                   0          5            10        15              20          25
                                               Frequency (GHz)                                                                                 Frequency (GHz)

      PSAT over Temperature                                                                            Output IP3 vs. POUT / Tone
                         40                                                                                         60



                         35                                                                                         50
    PSAT (dBm)




                                                                                                       OIP3 (dBm)




                         30                                                                                         40



                         25        +25°C                                                                            30               2 GHz
                                   -40°C                                                                                             12 GHz
                                   +85°C                                                                                             22 GHz


                         20                                                                                         20
                               0     5             10     15          20            25                                   10   12        14      16    18    20        22        24    26
                                               Frequency (GHz)                                                                             Output Power (dBm) / Tone

      2nd Harmonic
                          0

                                   Pout = 14 dBm
                         -10       Pout = 18 dBm
                                   Pout = 22 dBm
    2nd Harmonic (dBc)




                         -20


                         -30


                         -40


                         -50


                         -60
                               0     5             10     15          20            25
                                               Frequency (GHz)
5
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    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                                     Preliminary - Rev. V1P
    Typical Performance Curves: VDD = 15 V, IDSQ = 500 mA, VG1 = -3.4 V typical

      Power Compression @ 2 GHz                                                                         Power Compression @ 12 GHz

                                      35                                                                                                35




                                                                                                       POUT (dBm), Gain (dB), PAE (%)
     POUT (dBm), Gain (dB), PAE (%)




                                                Pout                                                                                              Pout
                                      30                                                                                                30        Gain
                                                Gain
                                                PAE                                                                                               PAE

                                      25                                                                                                25

                                      20                                                                                                20

                                      15                                                                                                15

                                      10                                                                                                10




                                                                                                                                                                                                 Preliminary Information
                                       5                                                                                                  5

                                       0                                                                                                  0
                                           0    5        10        15      20        25                                                       0   5          10        15      20          25
                                                       Input Power (dBm)                                                                                   Input Power (dBm)




      Power Compression @ 22 GHz                                                                        Current
                                      35                                                                                                1.0
    POUT (dBm), Gain (dB), PAE (%)




                                                Pout                                                                                              2 GHz
                                      30        Gain                                                                                              12 GHz
                                                PAE                                                                                     0.8       22 GHz
                                      25
                                                                                                       Current (A)




                                                                                                                                        0.6
                                      20

                                      15
                                                                                                                                        0.4

                                      10
                                                                                                                                        0.2
                                       5

                                       0                                                                                                0.0
                                           0    5        10        15      20        25                                                       0   5          10        15      20         25
                                                       Input Power (dBm)                                                                                   Input Power (dBm)




6
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                         Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 8 of 9

    MAAP-011247
    Power Amplifier, 2 W
    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V1P

    Lead-Free 5 mm 32-lead AQFN Package†




                                                                                                                                                                                      Preliminary Information
      All Dimensions shown as inches [mm].



     †
         Reference Application Note S2083 for lead-free solder reflow recommendations.
         Meets JEDEC moisture sensitivity level 3 requirements.
         Plating is NiPdAu.




7
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                         Case 1:18-cv-11028-GAO Document 28-9 Filed 06/29/18 Page 9 of 9

    MAAP-011247
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    DC - 22 GHz                                                                                                                                       Preliminary - Rev. V1P




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